     Case 2:13-cr-06070-SAB      ECF No. 73    filed 03/14/24   PageID.283    Page 1 of 2




1
2
3
4                         UNITED STATES DISTRICT COURT
5                       EASTERN DISTRICT OF WASHINGTON
6
7    UNITED STATES OF AMERICA,                      No. 2:13-cr-06070-SAB-1
8                        Plaintiff,
9    vs.                                            ACKNOWLEDGMENT OF NOTICE
                                                    OF RIGHTS – PETITION – POST
10    KENNETH RICHARD ROWELL,                       JUDGMENT
11                 Defendant’s Printed Name.
12
13         The undersigned defendant does hereby acknowledge: I appeared on this date
14   and was advised as follows:
15
16         1. Of the charge or charges placed against me, and I acknowledge receipt of
              a copy of the Petition for Warrant or Summons for Offender Under
17            Supervision;
18
           2. Of the maximum penalty provided by law;
19
20         3. My right to remain silent at all times and if I make a statement it can be
              used against me;
21
22         4. My right to retain my own counsel; and if I am without funds, to have
23            counsel appointed to represent me in this matter;

24         5. My right to a bail hearing, if I am in custody.
25
26         6. My right to a preliminary hearing, if I am in custody.
27
28

     ACKNOWLEDGMENT OF NOTICE OF RIGHTS - Page 1
     Case 2:13-cr-06070-SAB    ECF No. 73     filed 03/14/24   PageID.284   Page 2 of 2




1          7. My right, if I am not a United States citizen, to request a Government
              attorney or law enforcement official notify my country’s consulate of my
2             arrest or detention.
3
4
     _______________________________             Date: __________________________
                                                            March 13, 2024
5    Interpreter Signature
6
7
     _______________________________             ______________________________
                                                                   L. Faviola Gutierrez
8    Interpreter Printed Name                    Defendant Signature
9                                                I reviewed this document with
10                                               Mr. Rowell telephonically on
                                                 March 13, 2024. He consents
11                                               on me signing on his behalf.
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     ACKNOWLEDGMENT OF NOTICE OF RIGHTS - Page 2
